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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                       No. 1:19-CR-00117

v.                                                  Hon. Robert J. Jonker
                                                    Chief U.S. District Judge
LARRY CHARLES INMAN,

                  Defendant.
_________________________________/

                  GOVERNMENT’S PROPOSED VOIR DIRE

       The government respectfully requests that the following questions be included

in the voir dire of the jury panel, and respectfully requests permission to submit

additional or amended voir dire questions as the circumstances warrant:

                                  THE PARTIES

       1.    The defendant in this case is Larry Charles Inman. Does anyone know

the defendant?

       2.    The defendant is represented by Christopher Cooke of the Neumann

Law Group. Does anyone know Mr. Cook, or anyone who works with him?

       3.    The United States is represented by Chris O’Connor and Ron Stella.

Does anyone know Mr. O’Connor or Mr. Stella or any other employee of the United

States Attorney’s Office for the Western District of Michigan?

       4.    The federal agency that investigated this case was the Federal Bureau

of Investigation (FBI). Does anyone know anyone who works at the FBI, including

Special Agent Jeremy Ashcroft or Senior Forensic Examiner Walker Sharpe?
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       5.     Has anyone had dealings with the FBI that would in any way affect your

ability to decide this case in a fair and impartial manner?

       6.     Do you know anyone who works for this federal court?

       7.     The government intends to call the following witnesses in this case:

[final witness list to be provided at trial].

              a.     Does anyone know any of these individuals, or know anyone who
                     knows them?

       8.     Have you ever seen the defendant or his attorney before?

              a.     If so, when and under what circumstances?

       9.     Do you know or recognize anyone else here who has been summoned for

jury duty?

       a.     If so, who and how do you know them?

                                   BIAS/PREJUDICE

       10.    Has anyone heard about the criminal charges pending against the

Defendant?

       11.    Have you, or any of your relatives or close friends, ever been charged

with a criminal offense? If so, who?

              a.     What was the charge?
              b.     What was the outcome?
              c.     Did you have any personal role in that case?
              d.     Do you believe the you / the defendant was treated fairly?
              e.     Was that a positive, neutral, or negative experience?
              f.     Can you put aside your feelings about that case and weigh the
                     evidence fairly and impartially in this case?
              g.     Does this affect your ability to give both sides a fair and
                     impartial trial?

       12.    Have any of you ever had an unpleasant experience with the criminal

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justice system as a victim, a juror, or a witness?

             a.     If so, what type of experience?
             b.     Did this affect your opinion of the criminal justice system? If so,
                    how?
             c.     Can you put aside your feelings about that experience and weigh
                    the evidence fairly and impartially in this case?
             d.     Does this affect your ability to give both sides a fair and
                    impartial trial?

      13.    Do any of you have a negative opinion about the police or law

enforcement in general or the criminal justice system as a whole?

             a.     If so, why?
             b.     Can you put aside your feelings and weigh the evidence fairly
                    and impartially in this case?
             c.     Does this affect your ability to give both sides a fair and
                    impartial trial?

      14.    Have you or your relatives ever been a party to any legal action or

proceeding involving the United States, its officers, agents, or employees?

             a.     If so, what type of experience?
             b.     Was that a positive, neutral, or negative experience?
             c.     Did this affect your opinion of the criminal justice system? If so,
                    how?
             d.     Can you put aside your feelings about that experience and weigh
                    the evidence fairly and impartially in this case?
             e.     Does this affect your ability to give both sides a fair and
                    impartial trial?

      15.    Do you or any of your relatives have any disputes with the United States

Government or against government officials?

             a.     If so, what kind of claim or dispute?
             b.     Can you put aside your feelings and weigh the evidence fairly and
                    impartially in this case?
             c.     Does this affect your ability to give both sides a fair and
                    impartial trial?

      16.    This case involves issues relating to political campaign contributions,

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lobbying, and the political process in state government. With that in mind,

             a.    Are you able to set aside your views on politics, lobbying, and
                   state government and weigh the evidence fairly and impartially
                   in this case?
             b.    Are you able to give both sides a fair and impartial trial without
                   any regard to your personal political views?

     17.    If you identify yourself with any political party, for example, as a
Republican, Democrat, Libertarian, or other party:

             a.    Are you able to set aside your political identity or affiliation and
                   weigh the evidence fairly and impartially in this case?
             b.    Are you able to give both sides a fair and impartial trial without
                   any regard to your personal political views?

       18.    Has anyone ever been a member of a labor union or had a relative or
close friend who was a member of a labor union?

             a.    If so, what union / who?
             b.    Is there anything about that experience that might cause you to
                   not be fair and impartial in this case?
             c.    Can you put aside your feelings about that experience and weigh
                   the evidence fairly and impartially in this case?

       19.   Has anyone ever had to negotiate a contract or other agreement with a
labor union?

             a.    If so, what union?
             b.    Is there anything about that experience that might cause you to
                   not be fair and impartial in this case?
             c.    Can you put aside your feelings about that experience and weigh
                   the evidence fairly and impartially in this case?

      20.    Do you have any medical training or experience?

      21.    Do you have any training or experience with regard to the use of
prescription medication for pain management?

      22.      Does anyone have any strong beliefs regarding the prescribing of, or
the use of, prescription medication for pain management?

             a.    Is there anything about those beliefs/that experience that might
                   cause you to not be fair and impartial in this case?

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             b.       Can you put aside your feelings and weigh the evidence fairly and
                      impartially in this case?

                                PRIOR JURY SERVICE

      23.    Have any of you previously served on a jury? If so:

             a.       Was it for a civil or criminal case?
             b.       Was it in federal or state court?
             c.       How long ago?
             d.       What type of case?
             e.       What was the verdict?
             f.       Can you put aside your feelings about that experience and weigh
                      the evidence fairly and impartially in this case?
             g.       Does that experience affect your ability to give both sides a fair
                      and impartial trial?

      24.    Have any of you been called for jury duty before but not selected? If so:

             a.       When, where, and what type of case?
             b.       Do you know the reason you were not selected?
             c.       Do you know which party asked that you be excused?

                                 DUTIES AS JURORS

      25.    Do any of you feel you cannot or should not sit in judgment of another

person? If so, why?

      26.    If the evidence in this case shows beyond a reasonable doubt that the

defendant committed the charged crimes, would any of you be unable to find him

guilty? If so, why?

      27.    Should the government fail to prove the defendant’s guilt beyond a

reasonable doubt, would any of you feel that you could not return a verdict of not

guilty?

      28.    This is a criminal case in which the law may require the Court to

sentence a defendant found guilty of a crime to imprisonment. Do you understand

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that if the defendant is convicted, it will be the Court (not the jury) who will

determine the sentence, and that you should not consider the possible sentence in

determining whether the defendant is guilty or not guilty?

         29.   The Court will give you instructions on the law at the end of all the

evidence and argument of counsel, and explain the law as it applies to the facts of

this case. Does everyone agree to follow the Court’s instructions on the law and

apply the law to the facts of this case? If not, why?

         30.   After hearing the Court’s instructions, you might personally disagree

with them. Does anyone feel unable or unwilling to follow the Court’s instructions on

the law by putting your own personal beliefs aside?

         31.   Can you accept that the defendant is at this moment presumed innocent

of any crime with which he is charged?

         32.   Is there anyone who believes that a defendant who takes the stand and

testifies must be innocent?

         33.   Is there anyone who believes that a defendant who does not take the

stand and testify must be guilty?

         34.   Does everyone understand that the term “reasonable doubt” does not

mean “beyond all doubt,” and that the law does not require a person to be proven

guilty to a mathematical certainty?

         35.   Does anyone have any problem with hearing or eyesight or any other

medical problem that would impair your ability to devote your full attention to this

trial?



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      36.    Is there anything else we should know about you that might prevent you

from being a fair and impartial juror in this case? If so, what?

                                               Respectfully submitted,

                                               ANDREW BYERLY BIRGE
                                               United States Attorney

Dated: November 12, 2019                       /s/ Christopher M. O’Connor
                                               CHRISTOPHER M. O’CONNOR
                                               RONALD M. STELLA
                                               Assistant United States Attorneys

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